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                    EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                           ) Chapter 11
                                 )
YELLOW CORPORATION, et al.1      ) Case No. 23-11069 (CTG)
                                 )
            Debtors.             ) (Jointly Administered)
                                 )
                                 ) Re: ___________
                                 )
_________________________________)

         [PROPOSED] ORDER GRANTING MOTION OF ANTHONY MARTINO
               FOR ORDERS GRANTING RELIEF FROM THE AUTOMATIC STAY


            AND NOW THIS _________ day of _______________ 2023, upon consideration of the

    Motion Of Anthony Martino For Orders Granting Relief From The Automatic Stay (the

    “Motion”), the Court having determined that good and adequate cause exists for approval of the

    Motion, and the Court having determined that no further notice of the Motion is necessary,

            IT IS ORDERED:

          1.      That the Motion is GRANTED as set forth herein; and

          2.      The automatic stay of 11 U.S.C. § 362(a) of the Bankruptcy Code is immediately

modified to allow Movant to fully prosecute his claims in the Illinois Federal Action against the

YRC Defendants to conclusion, including through final judgment and any and all appeals

therefrom; and

          3.      Subject to further modification of the automatic stay by this Court, the Movants shall

be entitled to seek recovery solely against the proceeds of any applicable liability insurance policy.


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        A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of
Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe
Avenue, Overland Park, Kansas 66211.


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       4.      This Order does not prevent Movant from seeking further relief from the

automatic stay in connection with the Illinois Federal Action or otherwise.

       5.      The fourteen day stay period imposed by Federal Rule of Bankruptcy Procedure

4001(a)(3) is waived with respect to the relief granted herein.

       6.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation and enforcement of this Order.




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